ALEXANDER BROTHERS LUMBER COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Alexander Bros. Lumber Co. v. CommissionerDocket No. 41748.United States Board of Tax Appeals22 B.T.A. 153; 1931 BTA LEXIS 2165; February 16, 1931, Promulgated *2165  1.  Rate of depreciation on petitioner's "roofer" plant determined.  2.  Where taxpayer abandoned a "roofer" plant in 1923 a deduction for depreciation thereon may not be taken in 1924.  John B. McCallum, Esq., for the petitioner.  Hartford Allen, Esq., for the respondent.  TRAMMELL*153  This proceeding is for the redetermination of deficiencies in income tax of $508.84, $269.16, and $279.51 for 1924, 1925, and 1926, respectively.  The only matter in controversy is the correctness of the respondent's action in not allowing $2,070.45 of a deduction of *154  $5,000 taken by the petitioner for each of the taxable years for depreciation on lumber plants owned by it.  FINDINGS OF FACT.  The petitioner is a Georgia corporation, with its principal office at Cataula.  It was organized in 1916 and in that year began operations at Ellerslie.  Since that time it has been engaged in the business of planing or dressing of soft pine plank for use in connection with composition roofing, the plant being known as a "roofer mill." In 1923 the petitioner constructed a new plant at Cataula at a cost of $24,362.92.  This plant consisted of buildings, *2166  planing-mill machinery, blowpipe system, engine, boiler and trackage in the yard together with small trucks to operate on the tracks.  The plant was roughly constructed, heavy timbers being used for the machinery to rest on.  The buildings which were constructed to house the machinery were made of soft pine and were all of the shed type, open at both ends and planked just enough on the sides to protect the machinery from the weather.  The average physical life of plants of this type is about four to five years.  However, the amount of timber available usually determines the life of the plant, since its salvage value after the timber supply is exhausted is negligible and it is not practicable to remove it to any other location because of the number of parts it will be necessary to replace.  About August or September, 1923, the petitioner began operations at the Cataula plant and at that time estimated that its available timber supply was from 30,000,000 to 40,000,000 feet.  It also estimated that this timber would be cut out in aobut three to four years.  On January 1, 1924, it was estimated that the timber then available would last approximately four years and that the useful life*2167  of the plant would be coexistent with the period required to work up the available timber.  During the years 1924, 1925, and 1926 the petitioner acquired other timber in addition to that it had at January 1, 1924, but the amount was not sufficient to cause any change in its estimate as to the life of its plant.  The timber acquired during this period was what the petitioner had expected to get, with the exception of several million feet acquired in 1925 as a result of a dam being constructed in the area in which the petitioner was operating.  At the beginning of 1926 the petitioner had at least one year's timber supply available and at the end of the year on account of acquisitions had at least a half-year's supply of timber available.  Some time in 1923 the petitioner abandoned its plant at Ellerslie, which is four miles from Cataula.  The Ellerslie plant was never *155  dismantled, but remained intact for a year or two, when the buildings finally rotted down and the machinery collapsed.  At the time the petitioner began operations at its Cataula plant a mill was operating at Waverly Hall, which is 10 miles from Cataula; another mill was operating at Hamilton, which is seven*2168  or eight miles away; while another was operating at Fortson, which is four or five miles away.  These mills were all competing for timber.  The mill at Waverly Hall discontinued operations in 1926.  The mill at Fortson continued operating on full time until in 1929, when it began operating about half time.  The mill at Hamilton is still operating.  In estimating its available timber supply at the time of beginning operations at the Cataula plant the petitioner contemplated the use of teams and large motor trucks in hauling lumber to the plant.  In 1924 the use of teams was abandoned and the hauling was done by large trucks.  By the use of trucks the petitioner was enabled to haul lumber from points farther away from its plant than by the use of teams.  In 1926 the use of large trucks was abandoned and the petitioner began to use small trucks and trailers.  By using light trucks and trailers the petitioner was able to haul lumber from points much farther away from its plant than it had ever expected to be able to do.  The country surrounding the petitioner's Cataula plant was hilly, rocky and rough and when the petitioner first began operations at the plant the roads in the surrounding*2169  area were bad, being mostly trails, and were impassable each year from about December until the following spring.  About 1925 or 1926 the public authorities began improving the roads and by 1927 a graded road was put through the section.  The improvement in the roads also enabled the petitioner to haul lumber from points still farther away from its plant.  In 1928 or 1929 the petitioner was hauling from points as far as 28 miles away.  In 1927 the petitioner purchased the assets of the L. B. Saunders Lumber Company, which had been operated at Hamilton for a period of eight or ten years.  In the transaction the petitioner acquired several million feet of timber from that company and in addition was enabled to buy other timber from adjoining owners.  This gave the petitioner a considerable supply of timber which was necessary for its operations to continue.  On account of the improvement in the roads in the area surrounding the Cataula plant, the changes in the method of hauling lumber, and the acquisition of additional timber, none of which was contemplated or anticipated by the petitioner at the time it began operations at the plant in 1923, it was enabled to continue operations*2170 *156  until some time in 1930.  The plant is still in condition for operating and it is expected that it will be further operated.  In its income tax returns for 1924, 1925, and 1926 the petitioner took a deduction of $5,000 for each year for depreciation on its planing-mill plants at Ellerslie and Cataula, showing these plants to have been acquired from 1916 to 1923 at a cost of $29,295.53.  In determining the deficiencies here involved the respondent determined that the petitioner was entitled to depreciation at the rate of 10 per cent on the amount of $29,295.53 or to a deduction of $2,929.55 for each year.  The remainder of the deduction of $5,000, or $2,070.45, the respondent disallowed.  Of the amount of $29,295.53 representing the total cost of the two plants, $24,362.92 represented the original cost of the Cataula plant in 1923 and $4,932.61 represented the cost of the Ellerslie plant.  The undepreciated balance of the cost of the Ellerslie plant at January 1, 1923, was $3,000 and for 1923 the petitioner took a deduction of $1,000 for depreciation on that plant.  For 1923 the petitioner took a deduction of $3,000 for depreciation on its Cataula plant.  A reasonable*2171  allowance for depreciation on the Cataula plant for 1924, 1925, and 1926 is at an annual rate based on a useful life of four years.  OPINION.  TRAMMELL: The petitioner contends that for 1924, 1925, and 1926 it is entitled to take depreciation on the Cataula plant at a rate based on a useful life of four years, since at January 1, 1924, it was estimated that it had an available timber supply for four years, after which time the plant would have no useful life and only a negligible salvage value.  The evidence shows that the actual life of plants of this kind is from four to five years and that where the available timber supply is exhausted in a shorter time such plants generally are of no further use and their salvage value is negligible, since it is not practicable to remove an old plant to another location.  At the time the petitioner began operations at the Cataula plant in August or September, 1923, it estimated its available timber supply would be exhausted in about three to four years.  On January 1, 1924, it was estimated that this timber supply would last approximately four years.  At the end of 1926 the petitioner had at least a half-year's timber supply.  While during*2172  the years 1924, 1925, and 1926 the petitioner acquired timber, it was, with one exception, timber that it had expected to get when it began operations and was taken into consideration in determining depreciation deductions by *157  the petitioner.  Considering the timber available on January 1, 1924, the petitioner estimated the useful life of its plant at that time to be approximately four years.  The amount of timber acquired down to the end of 1926 was never sufficient to cause the petitioner to change the estimated useful life of its plant to a longer period than four years from January 1, 1924.  By the acquisition in 1927 of the assets of the L. B. Saunders Lumber Company, it was able to get a supply of timber not theretofore available to it.  On account of this and because of a change in the method of hauling lumber, as well as the improvement in the roads, the petitioner was enabled to continue its operations down into 1930.  In determining the amount of depreciation to which the petitioner is entitled for the years in controversy we must be guided by the facts known or reasonably anticipated in those years, and not on what has transpired since then.  *2173 ; ; ; affd., ; certiorari denied . If the petitioner had known or could have reasonably anticipated in the taxable years that other timber was or would be available to it at or before the time it expected to exhaust the timber it had originally anticipated being able to get when it began operations at the Cataula plant, and that the period of operations would be extended, a lower rate of depreciation should be allowed than if conditions were otherwise.  We are convinced by the evidence that during the taxable years the petitioner could not have reasonably anticipated that the timber which became available to it in 1927 and later years would ever become available to it.  We therefore have found that for the taxable years here involved the petitioner is entitled to depreciation on its Cataula plant at an annual rate based on a useful life of four years. The petitioner also contends that for 1924 it should be allowed a depreciation deduction of $2,000 representing the remaining*2174  undepreciated cost of the Ellerslie plant at the beginning of that year, on the ground that the useful life of that plant terminated in such year.  While the evidence is somewhat conflicting as to the use of the Ellerslie plant in 1924, we think the plant was abandoned in 1923 and have so found as a fact.  Since the plant was abandoned in 1923, no deducation is allowable in 1924 for depreciation on it.  To be deductible depreciation must have occurred to property "used in a trade or business." . This contention of the petitioner is therefore denied.  Judgment will be entered under Rule 50.